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 7     Attorneys for Plaintiff Roxana Towry Russell, d/b/a
 8     Roxy Russell Design
 9
10                         UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13      ROXANA TOWRY RUSSELL,                  Case No. 5:19-cv-01074-FMO-SHK
14      d/b/a ROXY RUSSELL DESIGN,
                                               PROOF OF SERVICE OF FIRST
15                                             AMENDED COMPLAINT AND
                       Plaintiff,
16                                             SUMMONS ON INVECH INC (A
              v.                               COLORADO CORPORATION) AND
17                                             INVECH INC (A COMPANY
        INVECH INC, a California
18      Corporation; INVECH INC, a             OPERATING A VIRTUAL
        Colorado Corporation; INVECH           STOREFRONT)
19
        INC, a Company operating a virtual
20      storefront; CHUN YAN ZHANG, an
        individual; RUYIN HE, an           Judge:       Hon. Fernando M. Olguin
21
        individual; and ONE NAIL AND
22      LASH BAR, a California Business,
23
                       Defendants.
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                        PROOF OF SERVICE OF FAC AND SUMMONS
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 1          Plaintiff Roxana Towry Russell, d/b/a Roxy Russell Design (“Plaintiff” or
 2    “Ms. Russell”) hereby files proof of service on Defendants Invech Inc (based in
 3    Colorado Springs, CO (“Invech CO”) and Invech Inc (a company operating a
 4    virtual storefront (“Invech Virtual Storefront”)), as provided below:
 5          Service on Invech CO
 6          1.     Defendant Invech CO was served in accordance with Fed. R. Civ. P.
 7    4(e)(1) and Section 7-90-704 of the Colorado Revised Statutes (2016). In
 8    particular, Section 7-90-704 of the Colorado Revised Statutes provides that if “an
 9    entity that is required to maintain a registered agent pursuant to this part 7 has no
10    registered agent, or if the registered agent is not located under its registered agent
11    name at its registered agent address, or if the registered agent cannot with
12    reasonable diligence be served, the entity may be served by registered mail or by
13    certified mail, return receipt requested, addressed to the entity at its principal
14    address.”
15          2.     Defendant Invech CO disclosed to the Colorado Secretary of State
16    that its registered agent is Xing Hu, who can be found at 50 E 46th Ave #400,
17    Denver CO, 80216. (See Ex. A).
18          3.     Plaintiff attempted service on Invech CO’s registered agent. (See Ex.
19    B). However, there “was no answer at the residence” and a neighbor informed the
20    process server that no one named Xing Hu can be found at 50 E 46th Ave #400,
21    Denver CO, 80216. (Id.)
22          4.     Plaintiff also attempted service on Invech CO at the address of its
23    “principal office,” as disclosed to the Colorado Secretary of State: 945 Conrad St.,
24    Colorado Springs, CO 80915. However, Invech CO could also not be found at
25    that address. (Ex. C at 1 (“There is another business occupying the office” and
26    Invech CO “was also not listed on the tenant list in the lobby.”).
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                      PROOF OF SERVICE OF FAC AND SUMMONS
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 1          5.     Accordingly, pursuant to Section 7-90-704 of the Colorado Revised
 2    Statutes, Plaintiff served Invech CO by certified mail, return receipt requested, at
 3    its principal address. (See Ex. D).
 4          6.     Pursuant to Section 7-90-704(2)(c) of the Colorado Revised Statutes,
 5    service was effected on August 18, 2019, i.e., “five days after mailing.”
 6          Service on Invech Virtual Storefront
 7          7.     According to Invech CO’s representative, Invech CO owns and
 8    operates Invech Virtual Storefront. (Ex. E at 4-5) To the extent, Invech CO and
 9    Invech Virtual Storefront are separate entities, Ms. Russell has alleged that they
10    are alter egos. (See, e.g., Dkt. No. 13 ¶¶ 9-11).
11          8.     Defendant Invech Virtual Storefront was served in accordance with
12    Fed. R. Civ. P. 4(e)(1) and Section 7-90-704 of the Colorado Revised Statutes
13    (2016).
14          9.     Plaintiff attempted service on Invech Virtual Storefront via Invech
15    CO’s registered agent. (See Ex. F). However, there “was no answer at the
16    residence” and a neighbor informed the process server that no one named Xing Hu
17    can be found at 50 E 46th Ave #400, Denver CO, 80216. (Id.)
18          10.    Plaintiff also attempted service on Invech Virtual Storefront at the
19    address of Invech CO’s “principal office,” as disclosed to the Colorado Secretary
20    of State: 945 Conrad St., Colorado Springs, CO 80915. However, Invech Virtual
21    Storefront could also not be found at that address. (Ex. G at 1 (“There is another
22    business occupying the office” and Invech Virtual Storefront “was also not listed
23    on the tenant list in the lobby.”).
24          11.    Accordingly, pursuant to Section 7-90-704 of the Colorado Revised
25    Statutes, Plaintiff served Invech Virtual Storefront by certified mail, return receipt
26    requested, at its principal address. (See Ex. D).
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 1          12.    Pursuant to Section 7-90-704(2)(c) of the Colorado Revised Statutes,
 2    service was effected on August 18, 2019, i.e., “five days after mailing.”
 3
 4     DATED: August 19, 2019           By:    /s/ Steve Papazian
                                               Guy Ruttenberg
 5                                             Steve Papazian
 6                                             RUTTENBERG IP LAW, A
                                               PROFESSIONAL CORPORATION
 7                                             1801 Century Park East, Suite 1920
 8                                             Los Angeles, CA 90067
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                     PROOF OF SERVICE OF FAC AND SUMMONS
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 1                                        PROOF OF SERVICE
 2          I, the undersigned, declare that I am over the age of 18 years, employed in the
 3    County of Los Angeles, State of California, and not a party to the above-entitled
 4    cause. On August 19, 2019, I caused to be served the foregoing document on the
 5    interested parties in this action as set forth below:
 6
             PROOF OF SERVICE OF FIRST AMENDED COMPLAINT AND
 7                               SUMMONS
 8
      VIA US MAIL and EMAIL
 9
10     Chun Yan Zhang (Amy Zhang)                      Ruyin He (Phoenix)
       onenailandlashbar@gmail.com                     phoenixhe1088@gmail.com
11     10399 E FOOTHILL BLVD, STE. 103A                10399 E FOOTHILL BLVD, STE. 103A
       RANCHO CUCAMONGA, CA 91730                      RANCHO CUCAMONGA, CA 91730
12
13
14
15    VIA US MAIL

16     Invech Inc                       One Nail And Lash Bar
       10399 E FOOTHILL BLVD, STE. 103A 10399 E FOOTHILL BLVD, STE. 103A
17     RANCHO CUCAMONGA, CA 91730       RANCHO CUCAMONGA, CA 91730
18
19
20
21          I declare under penalty of perjury under the laws of the United States of
22    America that the forgoing is true and correct.
23          Executed on August 19, 2019, in Los Angeles, California.
24
                                                 By:           /s/ Steve Papazian
25                                                            Steve Papazian
26
27
28

                                        PROOF OF SERVICE
